     Case: 1:18-cv-07429 Document #: 62 Filed: 07/02/19 Page 1 of 1 PageID #:600

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

John Doe
                                    Plaintiff,
v.                                                    Case No.: 1:18−cv−07429
                                                      Honorable Virginia M. Kendall
University of Chicago, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 2, 2019:


        MINUTE entry before the Honorable Virginia M. Kendall. By agreement of
parties, this case is dismissed without prejudice and with leave to reinstate by 7/12/2019.
If a motion to reinstate is not filed by 7/12/2019, the dismissal shall become final and will
automatically convert to a dismissal with prejudice. Civil case terminated. Mailed
notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
